              Case 1:21-bk-12122                  Doc 1     Filed 10/01/21 Entered 10/01/21 14:38:51                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF OHIO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                WA, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  720 Pete Rose Way
                                  Suite 310
                                  Cincinnati, OH 45202
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hamilton                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    WA, Inc.                                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    WA, Inc.                                                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   WA, Inc.                                                                Case number (if known)
         Name

                          $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                          $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                          $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    WA, Inc.                                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 1, 2021
                                                  MM / DD / YYYY


                             X   /s/ Henry Wilson                                                         Henry Wilson
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Robert A. Goering                                                     Date October 1, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robert A. Goering
                                 Printed name

                                 Goering & Goering
                                 Firm name

                                 220 West Third Street
                                 Cincinnati, OH 45202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (513) 621-0912                Email address


                                 0003884 OH
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         WA, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 1, 2021                         X /s/ Henry Wilson
                                                                       Signature of individual signing on behalf of debtor

                                                                       Henry Wilson
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name WA, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF OHIO                                                                                    Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AT&T                                                            services                                                                                                   $5,978.00
 c/o Midlnd
 Bankruptcy
 5407 Andrews Hwy
 Midland, TX 79706
 Cannon Design                                                   Consulting from                                                                                        $296,541.00
 Ohio, Inc.                                                      2019
 1100 Clark Ave.
 Saint Louis, MO
 63102
 Cincinnati Bell                                                 Services                                                                                                   $3,473.00
 PO Box 748003
 Cincinnati, OH
 45274
 City of Cincinnati                                              Income Taxes                                                                                             $25,358.88
 Income Tax
 805 Central Ave Ste
 600
 Cincinnati, OH
 45202
 City of St. Louis                                               Withholding Tax                                                                                          $10,653.76
 Collector Revenue
 Office of St. Louis
 Earnings and
 Payroll Tax Division
 1200 Market St. Rm.
 410
 Saint Louis, MO
 63103
 Colonial Life &                                                 Backrent                                                                                                 $54,183.00
 Accident Insurance
 2211 Congress
 Street
 B-259
 Portland, ME 04122




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    WA, Inc.                                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Columbus Income                                                 Income taxes                                                                                               $5,245.67
 Tax Division
 77 N. Front Street
 2nd Floor
 Columbus, OH
 43215
 Fosdick & Hilmer                                                Consulting from                                                                                          $82,720.00
 525 Vine Street                                                 2019
 #1100
 Cincinnati, OH
 45202
 ImaginiT                                                        Services                                                                                                 $18,653.00
 Technologies
 Rand Worldwide
 Subsidiary, Inc.
 28127 Network
 PLace
 Chicago, IL 60673
 Internal Revenue                                                Withholding Tax                                                                                          $47,054.39
 Service
 P O Box 7346
 Philadelphia, PA
 19101-7346
 Jerry Kanter                                                    Service                                                                                                    $6,575.00
 4439 Reading Road
 Cincinnati, OH
 45229
 Kentucky State                                                  Withholding Tax                                                                                            $4,469.02
 Treasurer
 1050 US-127 #100
 Frankfort, KY 40601
 Missouri                                                        Unemployment                                                                                               $7,241.80
 Department of Labor                                             Tax
 PO Box 59
 Jefferson City, MO
 65104
 MIssouri                                                        Income Tax                                                                                               $16,096.00
 Department of
 Revenue
 301 W. High Street
 Jefferson City, MO
 65101
 Ohio Department of                                              Withholding Tax                                                                                          $38,514.36
 Taxation
 Attn: Bankruptcy
 Division
 P O Box 530
 Columbus, OH
 43266-0030




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    WA, Inc.                                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Preview Group                                                   Services                                                                                                 $12,200.00
 632 Race Street, 2nd
 Floor
 Cincinnati, OH
 45202
 Prospera Solutions                                              Services                                                                                                 $18,882.00
 Group
 360 Gest Street
 Cincinnati, OH
 45203-6000
 Small Business                                                  PPP Loan                                                                                               $242,000.00
 Admin- United
 States
 US Attorney
 General's Office
 Main Justice
 Building
 10th & Constitution
 Avenue
 Washington, DC
 20530
 The Kleinger Group                                              Consulting from                                                                                            $6,810.00
 6305 Centre Park                                                2019
 Drive
 West Chester, OH
 45069
 Walker Consultants                                              Consulting from                                                                                          $16,357.00
 6602 E. 75th Street,                                            2018-2019
 Floor 201
 Indianapolis, IN
 46250




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            WA, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           319,914.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           319,914.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            17,280.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           154,633.88

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,104,616.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,276,529.88




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         WA, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase Bank                                              Checking                                                                   $261.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $261.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Regus Prepayment for Lease of office space signed on August 1, 2021                                                              $5,200.00




 9.        Total of Part 2.                                                                                                                      $5,200.00
           Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         WA, Inc.                                                                              Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            309,153.00      -                                    0.00 = ....                $309,153.00
                                              face amount                               doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                 $309,153.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of          Valuation method used   Current value of
                                                      physical inventory            debtor's interest          for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials
           Misc. Supplies                                                                        $300.00       N/A                                   $300.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                                      $300.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                                Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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                                                                     Document      Page 13 of 40
 Debtor         WA, Inc.                                                                      Case number (If known)
                Name


        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            See attached Schedule                                                     $69,000.00                                          $5,000.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                             $5,000.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 1:21-bk-12122                        Doc 1           Filed 10/01/21 Entered 10/01/21 14:38:51        Desc Main
                                                                     Document      Page 14 of 40
 Debtor         WA, Inc.                                                                     Case number (If known)
                Name



        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 4
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             Case 1:21-bk-12122                            Doc 1          Filed 10/01/21 Entered 10/01/21 14:38:51                                         Desc Main
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 Debtor          WA, Inc.                                                                                            Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $261.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $5,200.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $309,153.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                    $300.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $5,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $319,914.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $319,914.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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             Case 1:21-bk-12122                       Doc 1           Filed 10/01/21 Entered 10/01/21 14:38:51                                Desc Main
                                                                     Document      Page 16 of 40
 Fill in this information to identify the case:

 Debtor name          WA, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    United Leasing & Finance                      Describe debtor's property that is subject to a lien                   $17,280.00                $18,000.00
        Creditor's Name                               Oce PlotWave 365 Printing System
                                                      Dell Poweredge T430 Server System
        Attn: Mike Stoddart
        3700 Morgan Avenue                            Sale disguised as a lease.
        Evansville, IN 47715
        Creditor's mailing address                    Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        6/25/2018                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        1721
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $17,280.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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             Case 1:21-bk-12122                       Doc 1           Filed 10/01/21 Entered 10/01/21 14:38:51                                  Desc Main
                                                                     Document      Page 17 of 40
 Fill in this information to identify the case:

 Debtor name         WA, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $25,358.88          $25,358.88
           City of Cincinnati Income Tax                             Check all that apply.
           805 Central Ave Ste 600                                      Contingent
           Cincinnati, OH 45202                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2021                                                      Income Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $10,653.76          $10,653.76
           City of St. Louis Collector Revenue                       Check all that apply.
           Office of St. Louis                                          Contingent
           Earnings and Payroll Tax Division                            Unliquidated
           1200 Market St. Rm. 410                                      Disputed
           Saint Louis, MO 63103
           Date or dates debt was incurred                           Basis for the claim:
           2018-2020                                                 Withholding Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 6
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            Case 1:21-bk-12122                        Doc 1           Filed 10/01/21 Entered 10/01/21 14:38:51                             Desc Main
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 Debtor       WA, Inc.                                                                                        Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $5,245.67    $5,245.67
          Columbus Income Tax Division                               Check all that apply.
          77 N. Front Street                                            Contingent
          2nd Floor                                                     Unliquidated
          Columbus, OH 43215                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2018- 2020                                                 Income taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $47,054.39    $47,054.39
          Internal Revenue Service                                   Check all that apply.
          P O Box 7346                                                  Contingent
          Philadelphia, PA 19101-7346                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2020                                                       Withholding Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,469.02    $4,469.02
          Kentucky State Treasurer                                   Check all that apply.
          1050 US-127 #100                                              Contingent
          Frankfort, KY 40601                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2018, 2019, 2021                                           Withholding Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $7,241.80    $7,041.80
          Missouri Department of Labor                               Check all that apply.
          PO Box 59                                                     Contingent
          Jefferson City, MO 65104                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2018-2020                                                  Unemployment Tax

          Last 4 digits of account number 6000                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 6
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 Debtor       WA, Inc.                                                                                        Case number (if known)
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $16,096.00    $16,096.00
           MIssouri Department of Revenue                            Check all that apply.
           301 W. High Street                                           Contingent
           Jefferson City, MO 65101                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019-2020                                                 Income Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $38,514.36    $38,514.36
           Ohio Department of Taxation                               Check all that apply.
           Attn: Bankruptcy Division                                    Contingent
           P O Box 530                                                  Unliquidated
           Columbus, OH 43266-0030                                      Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019, 2020, & 2021                                        Withholding Tax

           Last 4 digits of account number 9222                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $2,062.00
           8th & Broadway LLC
           c/o Colliers International                                                  Contingent
           425 Walnut St                                                               Unliquidated
           Suite 1200                                                                  Disputed
           Cincinnati, OH 45202
                                                                                   Basis for the claim:     Rent 2018
           Date(s) debt was incurred 2018
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $5,978.00
           AT&T                                                                        Contingent
           c/o Midlnd Bankruptcy                                                       Unliquidated
           5407 Andrews Hwy                                                            Disputed
           Midland, TX 79706
                                                                                   Basis for the claim:     services
           Date(s) debt was incurred 2019-current
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.            $296,541.00
           Cannon Design Ohio, Inc.                                                    Contingent
           1100 Clark Ave.                                                             Unliquidated
           Saint Louis, MO 63102                                                       Disputed
           Date(s) debt was incurred 2019
                                                                                   Basis for the claim:     Consulting from 2019
           Last 4 digits of account number      1047
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 6
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 Debtor       WA, Inc.                                                                                Case number (if known)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,473.00
          Cincinnati Bell                                                       Contingent
          PO Box 748003                                                         Unliquidated
          Cincinnati, OH 45274                                                  Disputed
          Date(s) debt was incurred      2021                                Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,531.00
          Cincinnati Bell Technology Solutions                                  Contingent
          4650 Montgomery Road                                                  Unliquidated
          Cincinnati, OH 45212                                                  Disputed
          Date(s) debt was incurred 2021
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $54,183.00
          Colonial Life & Accident Insurance                                    Contingent
          2211 Congress Street                                                  Unliquidated
          B-259                                                                 Disputed
          Portland, ME 04122
                                                                             Basis for the claim:    Backrent
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $82,720.00
          Fosdick & Hilmer                                                      Contingent
          525 Vine Street #1100                                                 Unliquidated
          Cincinnati, OH 45202                                                  Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Consulting from 2019
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,784.00
          Gatherwright, Freeman, & Associates                                   Contingent
          541 Buttermilk Pike                                                   Unliquidated
          Ft Mitchell, KY 41017                                                 Disputed
          Date(s) debt was incurred 2017-2020
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $180,115.00
          Henry Wilson Jr.                                                      Contingent
          6737 Elwynne Dr.                                                      Unliquidated
          Cincinnati, OH 45236                                                  Disputed
          Date(s) debt was incurred      2015-current                        Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $18,653.00
          ImaginiT Technologies                                                 Contingent
          Rand Worldwide Subsidiary, Inc.                                       Unliquidated
          28127 Network PLace                                                   Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Services
          Date(s) debt was incurred 2021
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 6
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 Debtor       WA, Inc.                                                                                Case number (if known)
              Name

 3.11      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $6,575.00
           Jerry Kanter                                                         Contingent
           4439 Reading Road                                                    Unliquidated
           Cincinnati, OH 45229                                                 Disputed
           Date(s) debt was incurred     2019-2021                           Basis for the claim:    Service
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $12,200.00
           Preview Group                                                        Contingent
           632 Race Street, 2nd Floor                                           Unliquidated
           Cincinnati, OH 45202                                                 Disputed
           Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $18,882.00
           Prospera Solutions Group                                             Contingent
           360 Gest Street                                                      Unliquidated
           Cincinnati, OH 45203-6000                                            Disputed
           Date(s) debt was incurred 2020 & 2021
                                                                             Basis for the claim:    Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $154,752.00
           Richard Mellott                                                      Contingent
           2121 St. James Ave.                                                  Unliquidated
           Cincinnati, OH 45206                                                 Disputed
           Date(s) debt was incurred     2015-2019                           Basis for the claim:    Loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $242,000.00
           Small Business Admin- United States
           US Attorney General's Office                                         Contingent
           Main Justice Building                                                Unliquidated
           10th & Constitution Avenue                                           Disputed
           Washington, DC 20530
                                                                             Basis for the claim:    PPP Loan
           Date(s) debt was incurred 2021
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.16      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $6,810.00
           The Kleinger Group                                                   Contingent
           6305 Centre Park Drive                                               Unliquidated
           West Chester, OH 45069                                               Disputed
           Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Consulting from 2019
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $16,357.00
           Walker Consultants                                                   Contingent
           6602 E. 75th Street, Floor 201                                       Unliquidated
           Indianapolis, IN 46250                                               Disputed
           Date(s) debt was incurred 2018-2019
                                                                             Basis for the claim:    Consulting from 2018-2019
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 6
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 Debtor       WA, Inc.                                                                            Case number (if known)
              Name


   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.1       Colonial Life
           Sawyer Point Building ID FUR001                                                       Line     3.6
           PO Box 6112
                                                                                                        Not listed. Explain
           Hicksville, NY 11802

 4.2       District Director of IRS
           P O Box 1706                                                                          Line     2.4
           Louisville, KY 70201
                                                                                                        Not listed. Explain

 4.3       Gregory F.X. Daly
           Office of St. Louis                                                                   Line     2.2
           Earnings and Payroll Tax Division
                                                                                                        Not listed. Explain
           1200 Market St. Rm. 410
           Saint Louis, MO 63103

 4.4       Peter Hahn
           Benesch, Friedlander, Coplan &                                                        Line     3.3
           Aronoff LLP
                                                                                                        Not listed. Explain
           41 South High Street, Suite 2600
           Columbus, OH 43215

 4.5       U.S. Attorney
           77 N. Front Street                                                                    Line     2.3
           2nd Floor
                                                                                                        Not listed. Explain
           Columbus, OH 43215

 4.6       US Attorney
           221 East Fourth Street                                                                Line     2.1
           Suite 400
                                                                                                        Not listed. Explain
           Cincinnati, OH 45202

 4.7       US Attorney
           221 East Fourth Street                                                                Line     2.8
           Suite 400
                                                                                                        Not listed. Explain
           Cincinnati, OH 45202

 4.8       US Attorney General
           950 Pennsylvania Ave.                                                                 Line     2.4
           Washington, DC 20530-0001
                                                                                                        Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.         $                    154,633.88
 5b. Total claims from Part 2                                                                       5b.    +    $                  1,104,616.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.         $                    1,259,249.88




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 6
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                                                                     Document      Page 23 of 40
 Fill in this information to identify the case:

 Debtor name         WA, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Lease for Office Space
             lease is for and the nature of               located at 611 N. 10th
             the debtor's interest                        Street, Suite 600, St.
                                                          Louis. MO 63101
                  State the term remaining                Monthly
                                                                                        770 Curlee LLC
             List the contract number of any                                            611 N. 10th Street, Suite 340
                   government contract                                                  Saint Louis, MO 63101


 2.2.        State what the contract or                   Lease at 720 East Pete
             lease is for and the nature of               Rose Way
             the debtor's interest

                  State the term remaining                Ends in April 2026            Colonial Life & Accident Insurance
                                                                                        2211 Congress Street
             List the contract number of any                                            B-259
                   government contract                                                  Portland, ME 04122


 2.3.        State what the contract or                   Lease for Autocad
             lease is for and the nature of               Software
             the debtor's interest

                  State the term remaining                10 months                     ImaginiT Technologies
                                                                                        Rand Worldwide Subsidiary, Inc.
             List the contract number of any                                            28127 Network PLace
                   government contract                                                  Chicago, IL 60673


 2.4.        State what the contract or                   Lease for Office Space
             lease is for and the nature of               located at PNC Center
             the debtor's interest                        201 Fifth Street, Suite
                                                          1900 Cincinnati, OH
                                                          45202.
                  State the term remaining                6 months
                                                                                        Regus
             List the contract number of any                                            201 E. 5th Street
                   government contract                                                  Cincinnati, OH 45202




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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 Debtor 1 WA, Inc.                                                                           Case number (if known)
              First Name              Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Lease for Equipment
             lease is for and the nature of               for Dell Poweredge
             the debtor's interest                        T430 Server System &
                                                          OCE Plotwave 365
                  State the term remaining                2 Years ending in          United Leasing & Finance
                                                          October 2023               Attn: Mike Stoddart
             List the contract number of any                                         3700 Morgan Avenue
                   government contract                                               Evansville, IN 47715




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         WA, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         WA, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF OHIO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $998,701.00
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,802,018.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,687,987.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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 Debtor       WA, Inc.                                                                                  Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Internal Revenue Service                                    9/13/2021                        $30,903.00                Secured debt
               P O Box 7346                                                8/10/2021                                                  Unsecured loan repayments
               Philadelphia, PA 19101-7346                                 7/21/2021                                                  Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other Payroll Taxes


       3.2.
               Anthem Insurance                                            August 30,                       $23,211.00                Secured debt
               P O Box 37180                                               2021                                                       Unsecured loan repayments
               Louisville, KY 40233-7180                                                                                              Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                   Other Ordinary Employee
                                                                                                                                 Health Insurance payments


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Henry Wilson Jr.                                            October 1,                              $0.00         Payroll loans made by Mr.
               6737 Elwynne Dr.                                            2020-                                                 Wilson in the amount of
               Cincinnati, OH 45236                                        October 1,                                            $142,100 were later reimbursed
               President                                                   2021                                                  to Mr. Wilson in the amount of
                                                                                                                                 $112,100.

       4.2.    Richard Mellott                                             October 2020                            $0.00         Payroll loans made by Mr.
               2121 St. James Ave.                                         to October                                            Mellott in the amount of $5,000
               Cincinnati, OH 45206                                        2021                                                  were later reimbursed to Mr.
               Vice President                                                                                                    Mellott in the amount of
                                                                                                                                 $19,000.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

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 Debtor        WA, Inc.                                                                                    Case number (if known)




           None.

                Case title                                      Nature of case               Court or agency's name and                Status of case
                Case number                                                                  address
       7.1.     Cannon Design Ohio, Inc. vs.                    Suit for money               Hamilton County Court of                     Pending
                Debtor                                                                       Common Pleas                                 On appeal
                A-2101047                                                                    1000 Main Street
                                                                                                                                          Concluded
                                                                                             Cincinnati, OH 45202


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                    Description of the gifts or contributions                  Dates given                              Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss              Value of property
       how the loss occurred                                                                                                                                       lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates                    Total amount or
                 the transfer?                                                                                                                                   value
                 Address
       11.1.     Goering & Goering
                 220 West Third Street
                 Cincinnati, OH 45202                                Attorney Fees                                             9/17/2021                    $40,000.00

                 Email or website address
                 eric@goering-law.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
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 Debtor        WA, Inc.                                                                                  Case number (if known)



    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange              was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     807 Broadway, 3rd Floor                                                                                   9/2009-1/2019
                 Cincinnati, OH 45202

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


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 Debtor      WA, Inc.                                                                                   Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was           Last balance
              Address                                           account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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 Debtor      WA, Inc.                                                                                   Case number (if known)



            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Jerry Kanter                                                                                                               Last 5 years
                    4439 Reading Road
                    Cincinnati, OH 45229

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Debtor


       26c.2.       Jerry Kanter
                    4439 Reading Road
                    Cincinnati, OH 45229

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor       WA, Inc.                                                                                  Case number (if known)




            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Henry Wilson Jr.                               6737 Elwynne Dr.                                    President                             51%
                                                      Cincinnati, OH 45236                                                                      shareholder

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Richard Mellott                                2121 St. James Ave.                                 Vice President                        45%
                                                      Cincinnati, OH 45206                                                                      shareholder

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Wade A. Price                                  716 Avon Fields Lane                                Director                              4%
                                                      Cincinnati, OH 45229                                                                      shareholder



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1                                                                                                                                 Salary- $5,000
       .
                                                                                                                                            See SFA Question
               Henry Wilson Jr.                                                                                                             4 answer
               6737 Elwynne Dr.                                                                                          October 2020       regarding Payroll
               Cincinnati, OH 45236                             Salary $5,000                                            to Current         Loans.

               Relationship to debtor
               President


       30.2                                                                                                                                 Salary $4,500
       .
                                                                                                                                            See SFA Question
               Richard Mellott                                                                                                              4 answer
               2121 St. James Ave.                                                                                       October 2020-      regarding Payroll
               Cincinnati, OH 45206                             Salary- $4,500                                           current            Loans.

               Relationship to debtor
               Vice President


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 Debtor      WA, Inc.                                                                                   Case number (if known)



               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.3 Wade A. Price
       .    716 Avon Fields Lane                                                                                         October 2020
               Cincinnati, OH 45229                             Salary of $49,344                                        to Current        Salary

               Relationship to debtor
               Director


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    No, only employee contributions are paid to pension fund and payments                                      EIN:        XX-XXXXXXX
    are up to date.




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 Debtor      WA, Inc.                                                                                   Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 1, 2021

 /s/ Henry Wilson                                                        Henry Wilson
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        Southern District of Ohio
 In re       WA, Inc.                                                                                            Case No.
                                                                                     Debtor(s)                   Chapter    11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                     $              17,610.00
             Prior to the filing of this statement I have received                                           $              17,610.00
             Balance Due                                                                                     $                    0.00

2.     $    1,738.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):           Counsel is holding $ 20,652 in trust for any further services as part of the
                                                                     Chapter 11

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Any adversary proceeding, redemption litigation, real estate work, or other non-bankruptcy services.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 1, 2021                                                                 /s/ Robert A. Goering
     Date                                                                            Robert A. Goering
                                                                                     Signature of Attorney
                                                                                     Goering & Goering
                                                                                     220 West Third Street
                                                                                     Cincinnati, OH 45202
                                                                                     (513) 621-0912
                                                                                     Name of law firm




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                                                               United States Bankruptcy Court
                                                                       Southern District of Ohio
 In re      WA, Inc.                                                                                                  Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Henry Wilson Jr.                                                                     51
 6737 Elwynne Dr.
 Cincinnati, OH 45236

 Richard Mellott                                                                      45
 2121 St. James Ave.
 Cincinnati, OH 45206

 Wade A. Price                                                                        4
 716 Avon Fields Lane
 Cincinnati, OH 45229


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 1, 2021                                                        Signature /s/ Henry Wilson
                                                                                            Henry Wilson

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                         770 Curlee LLC
                         611 N. 10th Street, Suite 340
                         Saint Louis MO 63101

                         8th & Broadway LLC
                         c/o Colliers International
                         425 Walnut St
                         Suite 1200
                         Cincinnati OH 45202

                         AT&T
                         c/o Midlnd Bankruptcy
                         5407 Andrews Hwy
                         Midland TX 79706

                         Cannon Design Ohio, Inc.
                         1100 Clark Ave.
                         Saint Louis MO 63102

                         Cincinnati Bell
                         PO Box 748003
                         Cincinnati OH 45274

                         Cincinnati Bell Technology Solutions
                         4650 Montgomery Road
                         Cincinnati OH 45212

                         City of Cincinnati Income Tax
                         805 Central Ave Ste 600
                         Cincinnati OH 45202

                         City of St. Louis Collector Revenue
                         Office of St. Louis
                         Earnings and Payroll Tax Division
                         1200 Market St. Rm. 410
                         Saint Louis MO 63103

                         Colonial Life
                         Sawyer Point Building ID FUR001
                         PO Box 6112
                         Hicksville NY 11802

                         Colonial Life & Accident Insurance
                         2211 Congress Street
                         B-259
                         Portland ME 04122

                         Columbus Income Tax Division
                         77 N. Front Street
                         2nd Floor
                         Columbus OH 43215

                         District Director of IRS
                         P O Box 1706
                         Louisville KY 70201
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                     Fosdick & Hilmer
                     525 Vine Street #1100
                     Cincinnati OH 45202

                     Gatherwright, Freeman, & Associates
                     541 Buttermilk Pike
                     Ft Mitchell KY 41017

                     Gregory F.X. Daly
                     Office of St. Louis
                     Earnings and Payroll Tax Division
                     1200 Market St. Rm. 410
                     Saint Louis MO 63103

                     Peter Hahn
                     Benesch, Friedlander, Coplan &
                     Aronoff LLP
                     41 South High Street, Suite 2600
                     Columbus OH 43215

                     Henry Wilson Jr.
                     6737 Elwynne Dr.
                     Cincinnati OH 45236

                     ImaginiT Technologies
                     Rand Worldwide Subsidiary, Inc.
                     28127 Network PLace
                     Chicago IL 60673

                     Internal Revenue Service
                     P O Box 7346
                     Philadelphia PA 19101-7346

                     Jerry Kanter
                     4439 Reading Road
                     Cincinnati OH 45229

                     Kentucky State Treasurer
                     1050 US-127 #100
                     Frankfort KY 40601

                     Missouri Department of Labor
                     PO Box 59
                     Jefferson City MO 65104

                     MIssouri Department of Revenue
                     301 W. High Street
                     Jefferson City MO 65101

                     Ohio Department of Taxation
                     Attn: Bankruptcy Division
                     P O Box 530
                     Columbus OH 43266-0030
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                     Preview Group
                     632 Race Street, 2nd Floor
                     Cincinnati OH 45202

                     Prospera Solutions Group
                     360 Gest Street
                     Cincinnati OH 45203-6000

                     Regus
                     201 E. 5th Street
                     Cincinnati OH 45202

                     Richard Mellott
                     2121 St. James Ave.
                     Cincinnati OH 45206

                     Small Business Admin- United States
                     US Attorney General's Office
                     Main Justice Building
                     10th & Constitution Avenue
                     Washington DC 20530

                     The Kleinger Group
                     6305 Centre Park Drive
                     West Chester OH 45069

                     U.S. Attorney
                     77 N. Front Street
                     2nd Floor
                     Columbus OH 43215

                     United Leasing & Finance
                     Attn: Mike Stoddart
                     3700 Morgan Avenue
                     Evansville IN 47715

                     US Attorney
                     221 East Fourth Street
                     Suite 400
                     Cincinnati OH 45202

                     US Attorney General
                     950 Pennsylvania Ave.
                     Washington DC 20530-0001

                     Walker Consultants
                     6602 E. 75th Street, Floor 201
                     Indianapolis IN 46250
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                                                               United States Bankruptcy Court
                                                                       Southern District of Ohio
 In re      WA, Inc.                                                                                       Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for WA, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 1, 2021                                                       /s/ Robert A. Goering
 Date                                                                  Robert A. Goering
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for WA, Inc.
                                                                       Goering & Goering
                                                                       220 West Third Street
                                                                       Cincinnati, OH 45202
                                                                       (513) 621-0912




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